     Case 2:20-cv-01703-SCR     Document 189-16     Filed 04/18/25    Page 1 of 10


 1 JASON R. FLANDERS (Bar No. 238007)
   Email: jrf@atalawgroup.com
 2 ERICA A. MAHARG (Bar No. 279396)

 3 Email: eam@atalawgroup.com
   J. THOMAS BRETT (Bar No. 315820)
 4 Email: jtb@atalawgroup.com
   AQUA TERRA AERIS LAW GROUP
 5 8 Rio Vista Ave.
   Oakland, CA 94611
 6 Telephone: (916) 202-3018

 7
   DREVET HUNT, SBN 240487
 8 Email: dhunt@cacoastkeeper.org
   CALIFORNIA COASTKEEPER ALLIANCE
 9 1100 11th Street
   Sacramento, CA 95814
10
   Telephone: (415) 606-0864
11
   Attorneys for Plaintiff
12 CALIFORNIA COASTKEEPER ALLIANCE

13

14                           UNITED STATES DISTRICT COURT
15                          EASTERN DISTRICT OF CALIFORNIA
16

17 CALIFORNIA COASTKEEPER ALLIANCE,               Case No. 2:20-cv-01703-SCR
18
                     Plaintiff,                   DECLARATION OF LAUREN CHASE
19 vs.                                            MARSHALL IN SUPPORT OF
                                                  PLAINTIFF'S MOTION FOR INTERIM
20 COSUMNES CORPORATION, dba MURIETA              AWARD OF FEES AND COSTS
   EQUESTRIAN CENTER,
21
                                                  Hearing Date: June 12, 2025
22                         Defendant.             Time: 10:00 AM
                                                  Courtroom: 27, 8th Floor
23                                                Hon. Sean Riordan
24

25

26

27

28
                                                  1
     DECL. OF LAUREN MARSHALL ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
                                   Case No. 2:20-cv-01703-SCR
     Case 2:20-cv-01703-SCR            Document 189-16         Filed 04/18/25       Page 2 of 10


 1           I, Lauren Chase Marshall, declare:

 2           1.      I am more than eighteen years old and am competent to testify as to the matters set

 3   forth herein.

 4           2.      I am an attorney licensed to practice law in the State of California. I am a senior staff

 5   attorney with California Coastkeeper Alliance (“CCKA” or “Plaintiff”), Plaintiff in the above-

 6   referenced action.

 7           3.      I make this Declaration in support of Plaintiff’s Interim Motion for Attorneys’ Fees

 8   and Costs, filed herewith. The facts set forth in this declaration are based on my personal

 9   knowledge, unless otherwise stated; if called to testify as a witness, I could and would competently

10   testify thereto under oath.

11      I. BIOGRAPHICAL INFORMATION

12           4.      I am a 2018 graduate, with honors, of the University of Texas at Austin School of
13    Law.
14           5.      I was admitted to practice law in the State of California in December 2018. I have
15    been admitted to practice in the U.S. District Court for the Southern District of California, the U.S.
16    District Court for the Central District of California, and the U.S. District Court for the Eastern
17    District of California.
18           6.      I am a senior staff attorney at CCKA. Prior to that, I was employed at Orange
19    County Coastkeeper as a staff attorney and, later, senior staff attorney from September 2020-
20    January 2024. Prior to that, I was employed at Rutan & Tucker, LLP as an associate from
21    September 2018-August 2020.
22           7.      Since September 2020, my practice has been focused exclusively on public interest
23    environmental law. I work on a variety of issues including cases involving the Clean Water Act,
24    the Endangered Species Act, the National Environmental Policy Act, and the Freedom of
25    Information Act. I also participate in administrative processes involving water quality and public
26    access at the federal, state, and local levels. My litigation experience encompasses all aspects of
27

28
                                                  2
     DECL. OF LAUREN MARSHALL ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
                                   Case No. 2:20-cv-01703-SCR
     Case 2:20-cv-01703-SCR          Document 189-16         Filed 04/18/25     Page 3 of 10


 1    environmental litigation practice, including case development, motion practice, discovery, trial,

 2    and appellate work.

 3          8.     Environmental cases in which I appear[ed] as counsel of record and participate[d]

 4    actively include, but are not limited to: San Luis Obispo Coastkeeper, et al v. County of San Luis

 5    Obispo U.S. Dist. Ct. C.D. Cal. Case No. 2:24-cv-06854-SPG-AG; Los Angeles Waterkeeper v.

 6    Stericycle, Inc. U.S. Dist. Ct. C.D. Cal. Case No. 2:24-cv-10578-E; Los Angeles Waterkeeper v.

 7    Bender CCP, Inc. U.S. Dist. Ct. C.D. Cal. Case No. 2:24-cv-06822-AH-SK; Orange County

 8    Coastkeeper v. United States Army Corps of Engineers, et al. U.S. Dist. Ct., C.D. Cal. Case No.

 9    8:23-cv-00507-DOC-JDE; Orange County Coastkeeper v. United States Coast Guard U.S. Dist.

10    Ct., C.D. Cal. Case No. 8:22-cv-00870-CJC-DFM; Orange County Coastkeeper v. Hixson Metal

11    Finishing, et al. U.S. Dist. Ct., C.D. Cal. Case No. 8:22-cv-00932-JVS-DFM; Inland Empire

12    Waterkeeper, et al. v. PreZero US, Inc., et al. U.S. Dist. Ct., C.D. Cal. Case No. 8:21-cv-01001-

13    JLS-JDE; Inland Empire Waterkeeper, et al. v. CMC Steel Fabricators, Inc., et al. U.S. Dist. Ct.,

14    C.D. Cal. Case No. 8:21-cv-00236-JVS-KES; Orange County Coastkeeper v. R.J. Noble Co., et al.

15    U.S. Dist. Ct., C.D. Cal. Case No. 8:21-cv-01233-FWS-DFM; Inland Empire Waterkeeper, et al.

16    v. Columbia Steel, Inc., et al. U.S. Dist. Ct., C.D. Cal. Case No. 8:20-cv-01062-FLA-ADS;

17    Orange County Coastkeeper v. Ware Disposal, Inc. U.S. Dist. Ct., C.D. Cal. Case No. 8:20-cv-

18    01565-FLA-ADS; and Inland Empire Waterkeeper v. Corona Clay Co. U.S. Dist. Ct., C.D. Cal.

19    Case No. 8:18-cv-00333-DOC-DFM.

20          9.     I have been a panelist at events and workshops, including on continuing legal

21    education panels, hosted by organizations including California Coastkeeper Alliance, the

22    California Stormwater Quality Association, and the Southern California Stormwater Monitoring

23    Coalition.

24          10.    My 2025 rate for attorney work in the Eastern District of California is $520 per hour.

25    Given my experience, skill, and reputation, my rates requested herein are reasonable.

26          11.    In January 2024, in Inland Empire Waterkeeper v. Corona Clay Co. (8:18-cv-00333-

27    DOC-DFM), the Central District of California recently found that a rate of $595 per hour was

28
                                                  3
     DECL. OF LAUREN MARSHALL ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
                                   Case No. 2:20-cv-01703-SCR
     Case 2:20-cv-01703-SCR           Document 189-16          Filed 04/18/25     Page 4 of 10


 1    reasonable for my services. Even when compared to the relatively lower rates more common in the

 2    Eastern District of California, this rate reflects the reasonableness of the $520 hourly rate offered

 3    herein.

 4          12.     In setting the above rate, Mr. Hunt and Mr. Flanders relied on their extensive

 5    knowledge of prevailing hourly rates in the Eastern District of California legal market and other

 6    legal markets throughout California. In setting my hourly rates, Mr. Hunt and Mr. Flanders

 7    reviewed market data and recent attorney fee awards in cases involving complex civil litigation in

 8    the U.S. District Court for the Eastern District of California.

 9      II. TASKS PERFORMED AND HOURS INCURRED IN THIS CASE

10          13.     My involvement in this case began in 2024, shortly after I joined CCKA.
11          14.     In March 2024, I assisted with the preparation of Plaintiff’s Motion in Limine to
12    Exclude the Expert Testimony of Timothy Swickard. As a part of this, I reviewed Plaintiff’s and
13    Defendant’s experts’ reports.
14          15.     In March-June 2024, I conducted factual and legal research and analysis for and
15    assisted with drafting Plaintiff’s Phase II Motion for Summary Judgment and Reply. I also assisted
16    with drafting Plaintiff’s Statements of Undisputed Facts (SUF) in support of Plaintiff’s Phase II
17    Motion for Summary Judgment.
18          16.     In March 2024, I began to research legal issues associated with Plaintiff’s Motion for
19    Leave to File a Third Amended Complaint, including research into the alter ego theory, the
20    responsible corporate officer doctrine, and joinder procedures. I also assisted with drafting
21    Plaintiff’s Third Amended Complaint.
22          17.     In April 2024, as part of Plaintiff’s preparation for its Third Amended Complaint and
23    with reference to the Sacramento County Assessor’s website, I researched various recorded
24    documents concerning the real property underlying the MEC Facility.
25          18.     In June 2024, I conducted research into and summarized various insurance-related
26    issues.
27

28
                                                  4
     DECL. OF LAUREN MARSHALL ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
                                   Case No. 2:20-cv-01703-SCR
     Case 2:20-cv-01703-SCR         Document 189-16         Filed 04/18/25      Page 5 of 10


 1         19.     In November 2024, I conducted additional legal research into issues associated with

 2    Plaintiff’s Third Amended Complaint.

 3         20.     Attached hereto as Exhibit 1 is a true and correct copy of my chronological time

 4    records that document the time that I spent on this case. I personally and contemporaneously kept

 5    these records using computer timekeeping software and amended them for clarity documenting the

 6    hours I worked on this case for which I am seeking to recover an attorney’s fee award.

 7         I declare, under penalty of perjury under the laws of the United States that the foregoing is

 8 true and correct. Executed on the 15th of April 2025 in Santa Ana, California.

 9

10
                                                                Lauren Chase Marshall
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  5
     DECL. OF LAUREN MARSHALL ISO PLAINTIFF'S MOTION FOR INTERIM AWARD OF FEES AND COSTS
                                   Case No. 2:20-cv-01703-SCR
Case 2:20-cv-01703-SCR   Document 189-16   Filed 04/18/25   Page 6 of 10
Case 2:20-cv-01703-SCR   Document 189-16   Filed 04/18/25   Page 7 of 10
Case 2:20-cv-01703-SCR   Document 189-16   Filed 04/18/25   Page 8 of 10
Case 2:20-cv-01703-SCR   Document 189-16   Filed 04/18/25   Page 9 of 10
Case 2:20-cv-01703-SCR   Document 189-16   Filed 04/18/25   Page 10 of 10
